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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 WARREN BERES , et aI.,              )
                                     )
         Plaintiffs,                 )
                                     )         Nos. 03-785L, 04-1 456L, 04-
 V                                   )         L457L, 04- I458L, 04- t45gL, 04-
                                     )         r463L, 0 4- r465L, 04- r466L, 0 4-
 UNITED STATES,                      )         r467L, 04-I468L, 04-L46gL, 04-
                                     )         L47 lL, 04- 147 2L, 04- r47 3L, 04-
         Defendant                   )         t47 4L
                                     )
                                     )         The Honorable Marian Blank Horn
                                     )




                       DECLARIffION OF REID BROCK\ryAY



     I, Reid Brockway, make the following declaration:

     1. I am a United States citízen, a resident of the State of Washington, over the

age of twenty-one, have personal knowledge of the facts stated herein and am

competent to testifr to the matters stated in this Declaration.

     2. I and my wife, Susan Brockway, are Plaintiffs in this case. We purchased our
property along East Lake Sammamish in 1973 and built our home on the property

in 1992. Between 1973 and 1992 we lived nearby and used the property along the

lake for recreational purposes.

     3. The property had a treehouse, approximately 10 feet by 10 feet in the
northeast third of the western half of the railroad right of way adjoining our

property. We allowed children in the neighborhood to use the treehouse and play in



Declaration of Reid Brockway 1                                           Ex. 7-1
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the woods from 1973 to 1992. Our daughter and her friends used and accessed that

tree house from all directions and played in the woods every year from 1978 to L992

   4. Attached hereto as Exhibit A is a true and correct copy of a photograph taken
in approximately 1982 t};rat shows family members sitting on our property. In the

background, circled in red is where the treehouse was located and portions of that

treehouse can be seen.

   5. In the southern third of the western half of the right of way, we allowed our
neighbors to maintain a vegetable and flower garden and a large compost pile from

1973 until L992 as well. Those neighbors would share the vegetables and fl.owers

with us. We effectively used the entire western half of the railroad right of way from

1973 to 1992

   6. I have reviewed the diagram prepared by Eric Labrie of ESM Consulting
Engineers which is attached hereto as Exhibit B. This exhibit generally describes

the area where the garden and treehouse were located prior to 1992

   7   . In 1992, we started construction of our home on this property. At that time,
we removed the treehouse and the garden that was in the railroad right of way. As

we excavated for our home on the western portion of our lot, we placed fill material

in the western half of the right of way to create a parking area.

    8. Attached hereto as Exhibit C is a true and correct copy of a photograph taken

in the mid 1990s which shows the western side of the railroad right of way showing

that the vegetation in Exhibit A has been removed, trees and treehouse, and

replaced with a mown lawn. We installed the lawn in 1993 and have mowed and



Declaration of Reid Brockway 2                                            Ex. 7-2
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eradicated moles from that time period to the present. We park cars on that lawn

occasionally. We also have continuously maintained a compost pile in the southeast

corner of the western side of the railroad right of way. In about 1995, we planted

two apple trees, which $¡e prune and from which we harvest apples annually. This

is the manner in which we used the western half of the railroad right of way from

the early to mid-1990s to the present.

   9. At no time has anyone ever suggested that we did not own the western half of

the railroad right of way. We used it in an open and obvious manner and no one

objected or claimed that it was not ours to use or that we needed permission from

anyone

   10.I declare under penalty of perjury under the laws of the State of Washington

that the foregoing is true and correct and was executed by me this 29th day of

January, 2OI8, at Bellevue, Washington.




                                         Reid Brockway




Declaration of Reid Brockway 3                                          Ex. 7-3
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  A) Treehouse (110'x10') eliminated in 1992 when
    the west side of the ROW was graded to
     provide parking spaces.
  B) Garden maintained and use for consumption
     (also eliminated in 1992).
  C) Parking spaces area after 1992.




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                                                                             S&K 179
                                                                    Ex. 7C
